  Case 1:20-cv-00224-NT Document 5 Filed 06/23/20 Page 1 of 2                      PageID #: 34




                            UNITED STATES DISTRICT COURT
                                    District of Maine


                                                  )
 WALTER J. DYER, Personal Representative          )    Docket No.
 of the Estate of JENNIFER M. DYER,               )
                       Plaintiff                  )
                                                  )
 v.                                               )
                                                  )
 PENOBSCOT COUNTY, PENOBSCOT                      )
 COUNTY SHERIFF’S OFFICE,                         )
 PENOBSCOT COUNTY JAIL, NICHOLAS                  )
 MITTON, TROY MORTON, LOUIS ST.                   )
 PIERRE, JASON RAYMOND, and
 CHRISTOPHER WILSON,                              )
                      Defendants                  )
                                                  )

                                   JURY TRIAL DEMAND

       NOW COME Defendants, by and through undersigned counsel, and pursuant to F.R.Civ.P.

38(b), hereby demand trial by jury on all counts of the above-entitled matter.


Dated: June 23, 2020                                    /s/ Peter T. Marchesi
                                                      Peter T. Marchesi, Esq.

                                                       /s/ Cassandra S. Shaffer
                                                      Cassandra S. Shaffer, Esq.

                                                      Wheeler & Arey, P.A.
                                                      Attorneys for Defendants
                                                      27 Temple Street
                                                      Waterville, ME 04901
  Case 1:20-cv-00224-NT Document 5 Filed 06/23/20 Page 2 of 2                      PageID #: 35




                           UNITED STATES DISTRICT COURT
                                   District of Maine


                                                  )
 WALTER J. DYER, Personal Representative          )    Docket No.
 of the Estate of JENNIFER M. DYER,               )
                       Plaintiff                  )
                                                  )
 v.                                               )
                                                  )
 PENOBSCOT COUNTY, PENOBSCOT                      )
 COUNTY SHERIFF’S OFFICE,                         )
 PENOBSCOT COUNTY JAIL, NICHOLAS                  )
 MITTON, TROY MORTON, LOUIS ST.                   )
 PIERRE, JASON RAYMOND, and
 CHRISTOPHER WILSON,                              )
                      Defendants                  )
                                                  )

                                CERTIFICATE OF SERVICE

       I, Peter T. Marchesi, Esq., attorney for Defendants, hereby certify that:

       ●      Jury Trial Demand

has been served this day on Plaintiff by filing with the Clerk of Court using the CM/ECF system
which will send notification of such filing(s) to the following:

              Jodi L. Nofsinger Esq.         NofsingerService@bermansimmons.com
              Adam J. Arguelles, Esq.        ArguellesService@bermansimmons.com


Dated: June 23, 2020                                    /s/ Peter T. Marchesi
                                                      Peter T. Marchesi, Esq.
                                                      Wheeler & Arey, P.A.
                                                      Attorneys for Defendants
                                                      27 Temple Street
                                                      Waterville, ME 04901
